      Case 3:21-cv-01211-AW-HTC Document 78 Filed 04/15/22 Page 1 of 1




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

BENJAMIN COKER, JOSEPH
CONNELL, et al.,
      Plaintiffs,
v.                                             Case No. 3:21-cv-1211-AW-HTC
LLOYD AUSTIN, III, in his official
capacity as Secretary of Defense, et al.,
     Defendants.
_______________________________/
     ORDER GRANTING MOTION FOR SUPPLEMENTAL BRIEFING

      Plaintiffs’ unopposed motion to provide supplemental briefing in opposition

to Defendants’ motion to dismiss (ECF No. 77) is GRANTED. By April 22,

Plaintiffs may submit the DOD administrative record and a supplemental

memorandum of five pages or less. Defendants may (but are not required to) file a

response (five pages or less) by May 2.

      SO ORDERED on April 15, 2022.

                                      s/ Allen Winsor
                                      United States District Judge
